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Information Security Officer

ciso Wynn
Date 02/08 / 102 €

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

CASE NO, 23-80101-CR-CANNON(s)
UNITED STATES OF AMERICA
v.

Filed Ex Parte, In Camera, and
Under Seal with the Classified

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)
DONALD J. TRUMP,
) Information Security Officer
)
)
)
)

W ALTINE NAUTA, and
CARLOS DE OLIVEIRA,

Defendants.
GOVERNMENT'< ¢ a
OVERNMENT S CLASSIFIED EX PARTE, IN CAMERA, UNDER SEAL

SUPP] Eyrenr + ; ;
UPPLEMEN I TO MOTIONS FOR AN ORDER PURSUANT TO CIPA
SECTION 4 AND FED. R. CRIM. P. 16(d)(1)

